            Case 3:16-cr-00523-W                      Document 71               Filed 07/18/16             PageID.184              Page 1 of 2


     ~AO 245B (CASD) (Rev. 4114)
               Sheet I
                                   Judgment in a Criminal Case
                                                                                                                                FILED
                                                                                                                                JUL 1 8 2016
                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA so8i~~~ ~i~T~:CSTTRICT COURT
                                                                                                                 BY              OF CALIFORNIA
                    UNITED STATES OF AMERICA                                       JUDGMENT IN A                  .K        ':._!... r<~ ~ll'
                                                                                                                                         DEPUTY
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                    MAURICIO CRUZ FUENTES (2)                                      Case Number: 16CR0523-W
                                                                                   Chase Scolnick, Federal Defenders, Inc.
                                                                                   Defendant's Attorney
    REGJSTR~TlON ]'1\0. 02996298

    D
    THE DEFENDANT:
    [8J pleaded guilty to count(s) TWO OF THE INFORMATION
    D     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                              Number(s)
8 USC 1326                            REMOVED ALIEN FOUND IN THE UNITED STATES                                                                    2




        The defendant is sentenced as provided in pages 2 through _ _.=.2_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
                                                            ----------------------------------
 D Count(s)______________________ is DareD dismissed on the motion ofthe United States.
 [8J Assessment: $100.00


 [8J Fine waived                                      D Forfeiture pursuant to order filed
                                                                                                 ------------                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               JULY 18,2016




                                                                              HON. THOMAS '
                                                                              UNITED STATES
                                                                                                                                                  I6CR0523-W
        Case 3:16-cr-00523-W                      Document 71        Filed 07/18/16      PageID.185            Page 2 of 2


AO 2458 (CASD) (Rev. 4/14)   Judgment in a Criminal Case
            Sheet 2   Imprisonment

                                                                                            Judgment -   Page _-.;;2_ of        2
 DEFENDANT: MAURICIO CRUZ FUENTES (2)
 CASE NUMBER: 16CR0523-W
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TWENTY-SEVEN (27) MONTHS



    !81 Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op.m.      on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before --------------------------------------------------------------
       o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                     By ______~~~~~~~~~~~---------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                           16CR0523-W
